        Case 2:19-cr-00005-DLC Document 91 Filed 06/18/19 Page 1 of 2



                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                            BUTTE DIVISION




 UNITED STATES OF AMERICA,
                                                   CR 19-05-BU-DLC
                      Plaintiff,

        vs.                                         ORDER

 DYLAN JOSEPH JARDIN,

                      Defendant.

      THIS MATIER comes before the Court on the United States' Motion for a

Preliminary Order of Forfeiture. Dylan Joseph Jardin appeared before the Court on

June 10, 2019, and entered a plea of guilty to Count I of the Indictment. He also

admitted the forfeiture allegation. Jardin's plea provides a factual basis and cause

to issue an Order of Forfeiture, pursuant to 21 U.S.C. § 853(a)(l) and (2).

      IT IS ORDERED:

      THAT Jardin's interest in the following property is forfeited to the United

States in accordance with to 21 U.S.C. § 853(a)(l) and (2):

      • $4,012.00 in United States Currency.

      THAT the United States Marshals Service and the Drug Enforcement

Administration are directed to seize the property subject to forfeiture and further to

make a return as provided by law;

                                         -1-
        Case 2:19-cr-00005-DLC Document 91 Filed 06/18/19 Page 2 of 2




      THAT the United States will provide written notice to all third parties

asserting a legal interest in any of the above-described property and will post on an

official government internet site (www.forfeiture.gov) for at least 30 consecutive

days as required by Rule G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty

or Maritime Claims and Asset Forfeiture Actions of the Court's Preliminary Order

and the United States' intent to dispose of the property in such manner as the

Attorney General may direct, pursuant to 21 U.S.C. § 853(a)(l) and (2), and

853(n)(l ), and to make its return to this Court that such action has been completed;

and

      THAT upon adjudication of all third-party interests, if any, the Court will

enter a Preliminary Order of Forfeiture.

      DATED this ff>4l-iday of June, 2019.




                                                 Dana L. Christensen, Chief Judge
                                                 United States District Court




                                           -2-
